                 Case 2:20-cv-01601-BJR Document 6 Filed 11/06/20 Page 1 of 1



 1                                                                The Honorable Barbara J. Rothstein
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                            IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   ANDERSON et al.,

 9                  Plaintiffs,
            v.                                           Civil Action No. 2:20-cv-1601-BJR
10
                                                         ORDER REMANDING CASE
11   COLUMBIA DEBT RECOVERY LLC.,

12                  Defendant.

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            The parties having notified the Court through email correspondence dated Wednesday,
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15   November 4, 2020 that they stipulate to the fact that this matter was improperly removed from King

16   County Superior Court, the Court HEREBY REMANDS the case to King County Superior Court.
17          Dated this 6th day of November 2020.
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19                                                        A
                                                          Barbara       Jacobs      Rothstein
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                                                          U.S. District Court Judge
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